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     Shanghai Lan Cai Asset Management Co, Ltd.
11

12                            UNITED STATES BANKRUPTCY COURT
13                             CENTRAL DISTRICT OF CALIFORNIA
14                                    LOS ANGELES DIVISION
15

16   In re:                                            Case No. 2:19-bk-24804-VZ

17   YUETING JIA,                                      NOTICE OF MOTION AND MOTION
                                                       TO DISMISS THE DEBTOR’S
18                                                     CHAPTER 11 CASE BY CREDITOR
                                      Debtor.          SHANGHAI LAN CAI ASSET
19                                                     MANAGEMENT CO, LTD.
20                                                     Hearing:
                                                       Date: March 17, 2020
21                                                     Time: 11:00 a.m.
                                                       Place: Courtroom 1368
22                                                            Edward R. Roybal Federal Building
                                                              255 East Temple Street
23                                                            Los Angeles, California 90012
                                                       Judge: Honorable Vincent P. Zurzolo
24
     TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RCORD:
25
              PLEASE TAKE NOTICE that on March 17, 2020 at 11:00 a.m., or as soon thereafter as
26
     counsel may be heard in Courtroom 1368 of the above-entitled Court, located at 255 East Temple
27
     Street, Los Angeles, California 90012, Creditor Shanghai Lan Cai Asset Management Co, Ltd.
28
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                     1   (“Shanghai Lan Cai”), will and hereby does move the Court to dismiss this Chapter 11 case filed

                     2   by Yueting Jia (“Jia” or the “Debtor”) pursuant to 11 U.S.C. §§ 1112 and 305 on the basis that it

                     3   was filed in bad faith and in contravention of the principles of international comity.

                     4          PLEASE TAKE FURTHER NOTICE that this motion is based upon this Notice of

                     5   Motion and Motion, the concurrently filed Memorandum of Points and Authorities, the

                     6   Declaration of Dong Ni (Donna) Xu, and the papers and pleadings on file in this chapter 11

                     7   bankruptcy case, and any such oral and documentary evidence as may be presented prior to, or at

                     8   the time of, the hearing on this matter.

                     9          PLEASE TAKE FURTHER NOTICE that Local Bankruptcy Rule 9013-1(f) require that
                    10   any response must be filed with the Court and served on the parties no later than 14 days before
                    11   the hearing on the Motion. The failure to timely respond to this Motion may be deemed to be
                    12   consent to the relief requested in this Motion.
                    13          Copies of the motion and supporting documents may be obtained either by contacting
                    14   Lesnick Prince & Pappas LLP, 315 West Ninth Street, Suite 705, Los Angeles, California 90015,
                    15   Telephone: (213) 493-6496, Facsimile (213) 493-6596, or by visiting
                    16   https://dm.epiq11.com/case/yt1/documents.
                    17
                         Dated: February 21, 2020                          LESNICK PRINCE PAPPAS LLP
                    18
                                                                           – AND –
                    19
                                                                           KOBRE & KIM LLP
                    20

                    21
                                                                            By: /s/Christopher E. Prince
                    22                                                           Christopher E. Prince
                                                                                 Attorneys for Creditor Shanghai Lan Cai
                    23                                                           Asset Management Co, Ltd.
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KOBRE & KIM LLP
 ATTORNEYS AT LAW
                                                                           2
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                                           PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Lesnick Prince & Pappas LLP, 315 W. Ninth St., Suite 705, Los Angeles, CA 90015.
A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION AND MOTION TO
DISMISS THE DEBTOR’S CHAPTER 11 CASE BY CREDITOR SHANGHAI LAN CAI ASSET
MANAGEMENT CO, LTD. will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) 02/21/2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
       Tanya Behnam tbehnam@polsinelli.com, tanyabehnam@gmail.com
       Jerrold L Bregman ecf@bg.law, jbregman@bg.law
       Jeffrey W Dulberg jdulberg@pszjlaw.com
       Stephen D Finestone sfinestone@fhlawllp.com
       Alexandra N Krasovec krasovec.alexandra@dorsey.com, claridge.vanessa@dorsey.com
       Ben H Logan blogan@omm.com
       David W. Meadows david@davidwmeadowslaw.com
       Kelly L Morrison kelly.l.morrison@usdoj.gov
       Malhar S Pagay mpagay@pszjlaw.com, bdassa@pszjlaw.com
       Christopher E Prince cprince@lesnickprince.com, jmack@lesnickprince.com;cprince@ecf.courtdrive.com
       Randye B Soref rsoref@polsinelli.com, ccripe@polsinelli.com;ladocketing@polsinelli.com
       Benjamin Taylor btaylor@taylorlawfirmpc.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
       Emily Young pacerteam@gardencitygroup.com, rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com
                                                                           Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) 02/21/2020, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
completed no later than 24 hours after the document is filed.
        Honorable Vincent P. Zurzolo
        United States Bankruptcy Court
        255 E. Temple St., Suite 1360
        Los Angeles, CA 90012
                                                                                                  Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
(state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)               ,I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.
                                                                            Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  02/21/2020                      Christopher E. Prince                                                /s/Christopher E. Prince
  Date                            Printed Name                                                         Signature


                 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


 December 2012                                                                                             F 9013-3.1.PROOF.SERVICE
